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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  PEOPLE FOR THE ETHICAL            §
  TREATMENT OF ANIMALS, INC.,       §
                                    §
       Plaintiff,                   §
                                    §
  v.                                §
                                    §                 CASE NO. 4:18-cv-1547
  MICHAEL K. YOUNG, IN HIS OFFICIAL §
  CAPACITY AS PRESIDENT OF TEXAS    §
  A&M UNIVERSITY,                   §
                                    §
       Defendants.                  §

                                 NOTICE OF APPEARANCE

       Michael K. Young, in his Official Capacity as President of Texas A&M University,

Defendant in the above-entitled and numbered civil action, hereby notifies the Court and all parties

that the following person, in addition to those who previously gave notice, is appearing as counsel

of record.

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Dated: March 14, 2019                             Respectfully submitted,

                                                  /s/ María Amelia Calaf
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 14, 2019, a true and correct copy of the foregoing was served
via the Court’s electronic filing service upon all counsel of record


                                                  /s/ María Amelia Calaf
                                                  María Amelia Calaf




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